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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN


MICHAEL GODINO, on behalf of himself and
all others similarly situated,
                                                        Case No.:

       Plaintiff,                                       CLASS ACTION COMPLAINT
                                                        Jury Trial Demanded

               -against-

BLUE RIBBON MANAGEMENT LLC d/b/a
THE BREWHOUSE INN & SUITES

       Defendant.


Plaintiff, MICHAEL GODINO (hereinafter “Plaintiff”), on behalf of himself and all others

similarly situated, by and through him undersigned attorney, hereby files this Class Action

Complaint against Defendant, BLUE RIBBON MANAGEMENT LLC d/b/a THE BREWHOUSE

INN & SUITE(hereinafter “Defendant”), and states as follows:

                                        INTRODUCTION

        1.     This class action seeks to put an end to systemic civil rights violations committed

by Defendant against the blind in Wisconsin State and across the United States. Defendant is

denying blind individuals throughout the United States equal access to the goods and services

Defendant provides to its non-disabled customers through www.brewhousesuites.com

(hereinafter the “Website”). The Website provides to the public a wide array of the goods,




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services, price discounts, and other programs offered by Defendant. Yet, the Website contains

access barriers that make it difficult, if not impossible, for blind customers to use the Website.

In fact, the access barriers make it impossible for blind users to even book a hotel room on the

Website. Defendant thus excludes the blind from the full and equal participation in the growing

Internet economy that is increasingly a fundamental part of the common marketplace and daily

living. In the wave of technological advances in recent years, assistive computer technology is

becoming an increasingly prominent part of everyday life, allowing blind people to fully and

independently access a variety of services, including hotel reservation.

            2.      Plaintiff is a blind individual. He brings this civil rights class action against

Defendant for failing to design, construct, and/or own or operate a website that is fully accessible

to, and independently usable by, blind people.

            3.      Specifically, the Website has many access barriers preventing blind people from

independently navigating and completing a purchase using assistive computer technology.

            4.      Plaintiff uses the terms “blind person” or “blind people” and “the blind” to refer

to all persons with visual impairments who meet the legal definition of blindness in that they

have a visual acuity with correction of less than or equal to 20 x 200. Some blind people who

meet this definition have limited vision. Others have no vision.

            5.      Approximately 8.1 million people in the United States are visually impaired,

including 2.0 million who are blind.1 There are approximately 400,000 visually impaired persons

in New York State.2

            6.      Many blind people enjoy using Internet just as sighted people do. The lack of an

accessible website means that blind people are excluded from the rapidly expanding self-service


1
    Americans with Disabilities: 2010 Report, U.S. Census Bureau Reports
2
    American Foundation for the Blind, State-Specific Statistical Information, January 2015


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hospitality industry and from independently accessing the Website.

        7.     Despite readily available accessible technology, such as the technology in use at

other heavily trafficked websites, which makes use of alternative text, accessible forms,

descriptive links, resizable text and limits the usage of tables and JavaScript, Defendant has

chosen to rely on an exclusively visual interface. Defendant’s sighted customers can

independently browse, select, and book hotel accommodations online without the assistance of

others. However, blind people must rely on sighted companions to assist them in making an

online hotel reservation on the Website.

        8.     By failing to make the Website accessible to blind persons, Defendant is violating

basic equal access requirements under both state and federal law.

        9.     Congress provided a clear and national mandate for the elimination of

discrimination against individuals with disabilities when it enacted the Americans with

Disabilities Act. Such discrimination includes barriers to full integration, independent living, and

equal opportunity for persons with disabilities, including those barriers created by websites and

other public accommodations that are inaccessible to blind and visually impaired persons.

        10.    Plaintiff browsed and intended to access Defendant’s online booking and

reservation service on the Website. However, unless Defendant remedies the numerous access

barriers on the Website, Plaintiff and Class members will continue to be unable to independently

navigate, browse, use and make a hotel reservation on the Website.

        11.    This complaint seeks declaratory and injunctive relief to correct Defendant’s

policies and practices to include measures necessary to ensure compliance with federal and state

law and to include monitoring of such measures, to update and remove accessibility barriers on

the Website so that Plaintiff and the proposed Class and Subclass of customers who are blind




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will be able to independently and privately use the Website. This complaint also seeks

compensatory damages to compensate Class members for having been subjected to unlawful

discrimination.

                                 JURISDICTION AND VENUE

        12.    This Court has subject matter jurisdiction of this action pursuant to:

               a.     28 U.S.C. § 1331 and 42 U.S.C. § 12188, for Plaintiff’s claims arising under

                      Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq.,

                      (“ADA”); and

               b.     28 U.S.C. § 1332, because this is a class action, as defined by 28 U.S.C §

                      1332(d)(1)(B), in which a member of the putative class is a citizen of a

                      different state than Defendant, and the amount in controversy exceeds the

                      sum or value of $5,000,000, excluding interest and costs. See 28 U.S.C. §

                      1332(d)(2).

       13.     Venue is proper in the Eastern District of Wisconsin pursuant to 28 U.S.C. §§ 1391(b)-

(c) and 1441(a). Plaintiff is a resident of Nassau County, New York State. Defendant is subject to

personal jurisdiction in the Eastern District of Wisconsin because Defendant has established contacts in

the forum state, as a substantial part of the acts and omissions giving rise to Plaintiff’s claims have

occurred in New York State because Plaintiff attempted to make a reservation on the Website in Nassau

County, New York. Defendant also has been and is committing the acts alleged herein Wisconsin State,

has been and is violating the rights of consumers in Wisconsin State, and has been and is causing injury

to consumers in Wisconsin State. A substantial part of the acts and omissions giving rise to Plaintiff’s

claims have occurred in New York State. Specifically, Plaintiff attempted to make a reservation on the

Website.




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                                             PARTIES

        14.    Plaintiff is and has been at all times material hereto a resident of Nassau County,

New York.

        15.    Plaintiff is legally blind and a member of a protected class under the ADA, 42

U.S.C. § 12102(1)-(2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq.. Plaintiff cannot use a computer without the assistance of screen reader software. Plaintiff has

been denied the full enjoyment of the facilities, goods and services of the Website, as a result of

accessibility barriers on the Website. Most recently in March 2019, Plaintiff attempted to browse

and make a reservation on the Website but could not complete a reservation due to the

inaccessibility of the Website. The inaccessibility of the Website has deterred him and Class

members from enjoying the goods and services of Defendant.

        16.    Defendant is an American corporation organized under the laws of Wisconsin State.

Defendant’s purported registered agent in Wisconsin for service of process is 1125 N 9th Street,

Suite A, Milwaukee, WI 53233.

        17.    Defendant owns and operates a full service hotel under the name THE

BREWHOUSE INN & SUITE (hereinafter the “Hotel”), which is a place of public

accommodation located at 1215 N 10th St., Milwaukee, WI 53205. Among other things, the

Website provides access to the array of goods and services offered to the public by Defendant

including corporate and/or business and leisure accommodations for travelers related to these

goods and services. The inaccessibility of the Website has deterred Plaintiff from using

Defendant’s online booking and reservation service on the Website.

        18.    Plaintiff, on behalf of herself and all others similarly situated, seeks full and equal

access to the services provided by Defendant through the Website.




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                                    CLASS ACTION ALLEGATIONS

         19.   Plaintiff, on behalf of herself and all others similarly situated, seeks certification of

the following nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil

Procedure: “all legally blind individuals in the United States who have attempted to access the

Website and as a result have been denied access to the enjoyment of goods and services offered

by Defendant, during the relevant statutory period.”

         20.   Plaintiff seeks certification of the following Wisconsin subclass pursuant to

Fed.R.Civ.P. 23(a), 23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in

Wisconsin State who have attempted to access the Website and as a result have been denied

access to the enjoyment of goods and services offered by Defendant, during the relevant

statutory period.”

         21.   There are hundreds of thousands of visually impaired persons in Wisconsin State.

There are approximately 8.1 million people in the United States who are visually impaired. Thus,

the persons in the class are so numerous that joinder of all such persons is impractical and the

disposition of their claims in a class action is a benefit to the parties and to the Court.

         22.   This case arises out of Defendant’s policy and practice of maintaining an

inaccessible website denying blind persons access to the goods and services of the Website and

the Hotel. Due to Defendant’s policy and practice of failing to remove access barriers, blind

persons have been and are being denied full and equal access to independently browse, select and

shop on the Website and by extension the goods and services offered through the Website by the

Hotel.

         23.   There are common questions of law and fact common to the class, including without

limitation, the following:




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               a.    Whether the Website is a “public accommodation” under the ADA;

               b.    Whether Defendant through the Website denies the full and equal enjoyment

                     of its goods, services, facilities, privileges, advantages, or accommodations

                     to people with visual disabilities in violation of the ADA; and

        24.    The claims of the named Plaintiff are typical of those of the class. The class,

similarly to the Plaintiff, are severely visually impaired or otherwise blind, and claim that

Defendant has violated the ADA by failing to update or remove access barriers on the Website, so

it can be independently accessible to the class of people who are legally blind.

        25.    Plaintiff will fairly and adequately represent and protect the interests of the

members of the Class because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, and because Plaintiff has no interests antagonistic

to the members of the class. Class certification of the claims is appropriate pursuant to Fed. R. Civ.

P. 23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to the

Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff and the

Class as a whole.

        26.    Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to Class members clearly predominate over questions

affecting only individual class members, and because a class action is superior to other available

methods for the fair and efficient adjudication of this litigation.

        27.    Judicial economy will be served by maintenance of this lawsuit as a class action in

that it is likely to avoid the burden that would be otherwise placed upon the judicial system by the

filing of numerous similar suits by people with visual disabilities throughout the United States.




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        28.    References to Plaintiff shall be deemed to include the named Plaintiff and each

member of the class, unless otherwise indicated.

                                 FACTUAL ALLEGATIONS

        29.    Defendant owns and operates the Hotel, that is located 1215 N 10th St., Milwaukee,

WI 53205.

        30.    The Website is a service and benefit offered by Defendant throughout the United

States, including Wisconsin State. The Website is owned, controlled and/or operated by

Defendant.

        31.    Among the features offered by the Website are the following:

              (a)   hotel information, allowing persons who wish to stay and dine at the Hotel to

                    learn its location, hours, and phone numbers;

              (b)   an online booking webpage, allowing customers to make a reservation;

              (c)   information about the Hotel’s amenities and facilities for dining;

              (d)   information about the Hotel’s social networks;

              (e)   information about the Hotel’s history, and employment opportunities.

        32.    This case arises out of Defendant’s policy and practice of denying the blind access

to the Website, including the goods and services offered by Defendant through the Website. Due

to Defendant’s failure and refusal to remove access barriers to the Website, blind individuals have

been and are being denied equal access to the Hotel’s Website, as well as to the numerous goods,

services and benefits offered to the public through the Website.

        33.    Defendant denies the blind access to goods, services and information made

available through the Website by preventing them from freely navigating the Website.




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        34.    The Internet has become a significant source of information for conducting business

and for doing everyday activities such as shopping, banking, etc., for sighted and blind persons.

        35.    The blind access websites by using keyboards in conjunction with screen-reading

software which vocalizes visual information on a computer screen. Except for a blind person

whose residual vision is still sufficient to use magnification, screen access software provides the

only method by which a blind person can independently access the Internet. Unless websites are

designed to allow for use in this manner, blind persons are unable to fully access Internet websites

and the information, products and services contained therein.

        36.    There are well established guidelines for making websites accessible to blind

people. These guidelines have been in place for at least several years and have been followed

successfully by other large business entities in making their websites accessible. The Web

Accessibility Initiative (WAI), a project of the World Wide Web Consortium which is the leading

standards organization of the Web, has developed guidelines for website accessibility. The federal

government has also promulgated website accessibility standards under Section 508 of the

Rehabilitation Act. These guidelines are readily available via the Internet, so that a business

designing a website can easily access them. These guidelines recommend several basic

components for making websites accessible, including, but not limited to: ensuring that all

functions can be performed using a keyboard and not just a mouse; ensuring that non-text content

has text alternatives; ensuring that image maps are accessible; and adding headings so that blind

people can easily navigate the site. Without these very basic components a website will be

inaccessible to a blind person using a screen reader.

        37.    The Website contains access barriers that prevent free and full use by Plaintiff and

blind persons using keyboards and screen reading software. These barriers are pervasive and




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include, but are not limited to: inaccessible forms; the denial of keyboard access; and the

requirement that transactions be performed solely with a mouse.

        38.    According to WCAG 2.1 Guideline 2.1.1, for a website to be accessible, users must

be able to interact with web pages and access all functions and capabilities of the website using

only a keyboard. Plaintiff cannot use a computer mouse because moving a mouse pointer from one

spot to another on a computer screen is a visual activity. However, the Website requires the use of

a mouse to select essential content. Plaintiff tried to reserve a room on the Website. However, the

date box was not editable. He could not choose the desired date, number of people, or type of

rooms using the keyboard. As a result, he was unable to access and read information about the

products and services provided on the page by Defendant. Due to the Website’s deficient design

and coding, Plaintiff is barred from accessing essential content and capabilities on the Website.

        39.    The Website thus contains access barriers which deny full and equal access to

Plaintiff, who would otherwise use the Website and who would otherwise be able to fully and

equally enjoy the benefits and services of the Hotel.

        40.    Plaintiff has made numerous attempts to make a reservation on the Website, most

recently in March 2019, but was unable to do so independently because of the many access barriers

on the Website. These access barriers have caused the Website to be inaccessible to, and not

independently usable by, blind and visually impaired individuals.

        41.    Plaintiff experienced many barriers in attempting to access The Website. For

instance, the Web Content Accessibility Guidelines (WCAG) are part of a series of web

accessibility guidelines published by Web Accessibility Initiative (WAI) of the World Wide Web

Consortium (W3C), which are the main international standards organization for the Internet.




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Plaintiff was completely blocked from online ordering since the Website is barely accessible.

Defendant has failed to adhere to the recommendations of many of these guidelines such as:

           a. WCAG 2.1 recommending businesses to make all functionality available from a

               keyboard since the Website requires the visual activity of mouse manipulation to

               complete a purchase.

           b. WCAG 4.1 recommending businesses to maximize compatibility with current and

               future user agents, including assistive technologies, for the reasons stated above.

        42.    As described above, Plaintiff has actual knowledge of the fact that the Website

contains access barriers causing it to be inaccessible, and not independently usable by, blind and

visually impaired individuals.

        43.    These barriers to access have denied Plaintiff full and equal access to, and

enjoyment of, the goods, benefits and services of the Website and the Hotel.

        44.    Defendant engaged in acts of intentional discrimination, including but not limited

to the following policies or practices:

               (a)   constructing and maintaining a website that is inaccessible to blind class

                     members with knowledge of the discrimination; and/or

               (b)   constructing and maintaining a website that is sufficiently intuitive and/or

                     obvious that is inaccessible to blind class members; and/or

               (c)   failing to take actions to correct these access barriers in the face of

                     substantial harm and discrimination to blind class members.

        45.    Defendant utilizes standards, criteria or methods of administration that have the

effect of discriminating or perpetuating the discrimination of others.

                                  FIRST CAUSE OF ACTION




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  (Violation of 42 U.S.C. §§ 12181, et seq. — Title III of the Americans with Disabilities Act)
                              (on behalf of Plaintiff and the Class)

        46.    Plaintiff realleges and incorporates by reference the foregoing allegations as if set

forth fully herein.

        47.    Title III of the Americans with Disabilities Act of 1990, 42 U.S.C. § 12182(a),

provides that “No individual shall be discriminated against on the basis of disability in the full and

equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of any

place of public accommodation by any person who owns, leases (or leases to), or operates a place

of public accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria

or methods of administration that have the effect of discriminating on the basis of disability.” 42

U.S.C. § 12181(b)(2)(D)(I).

        48.    The Hotel is a sales establishment and public accommodation within the definition

of 42 U.S.C. § 12181(7)(E). The Website is a service, privilege or advantage of Defendant. The

Website is a service that is by and integrated with the Hotel. Independent of the Hotel, the Website

is also a public accommodation.

        49.     Defendant is subject to Title III of the ADA because it owns and operates the

Website.

        50.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I) it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities the

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodations of an entity.

        51.     Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,



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or accommodation, which is equal to the opportunities afforded to other individuals.

        52.     Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful

discrimination includes, among other things, “a failure to make reasonable modifications in

policies, practices, or procedures, when such modifications are necessary to afford such goods,

services, facilities, privileges, advantages, or accommodations to individuals with disabilities,

unless the entity can demonstrate that making such modifications would fundamentally alter the

nature of such goods, services, facilities, privileges, advantages or accommodations.”

        53.     In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful

discrimination also includes, among other things, “a failure to take such steps as may be necessary

to ensure that no individual with a disability is excluded, denied services, segregated or otherwise

treated differently than other individuals because of the absence of auxiliary aids and services,

unless the entity can demonstrate that taking such steps would fundamentally alter the nature of

the good, service, facility, privilege, advantage, or accommodation being offered or would result

in an undue burden.”

        54.    There are readily available, well established guidelines on the Internet for making

websites accessible to the blind and visually impaired. These guidelines have been followed by

other large business entities in making the Website accessible, including but not limited to:

ensuring that all functions can be performed using a keyboard. Incorporating the basic

components to make the Website accessible would neither fundamentally alter the nature of

Defendant’s business nor result in an undue burden to Defendant.

        55.    The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. §

12101 et seq., and the regulations promulgated thereunder. Patrons of Defendant who are blind

have been denied full and equal access to the Website, have not been provided services that are




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provided to other patrons who are not disabled, and/or have been provided services that are inferior

to the services provided to non-disabled patrons.

        56.     Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

        57.     As such, Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and members of the proposed class and subclass on the basis of disability in the full

and equal enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

opportunities of the Website and the Hotel in violation of Title III of the Americans with Disabilities

Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing regulations.

        58.     Unless the Court enjoins Defendant from continuing to engage in these unlawful

practices, Plaintiff and members of the proposed class and subclass will continue to suffer irreparable

harm.

        59.     The actions of Defendant were and are in violation of the ADA and therefore

Plaintiff invokes his statutory right to injunctive relief to remedy the discrimination.

        60.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

        61.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

and incorporated therein Plaintiff prays for judgment as set forth below.

                                      SECOND CAUSE OF ACTION
                                        (Declaratory Relief)

                                (on behalf of Plaintiff and the Class)

        62.     Plaintiff realleges and incorporates by reference the foregoing allegations as if set

forth fully herein.

        63.     An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that the Website



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contains access barriers denying blind customers the full and equal access to the goods, services

and facilities of the Website and by extension the Hotel, which Defendant owns, operates,

and/or controls, fails to comply with applicable laws including, but not limited to, Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq.

        64.     A judicial declaration is necessary and appropriate at this time in order that each

of the parties may know their respective rights and duties and act accordingly.

               WHEREFORE, Plaintiff prays for judgment as set forth below.

                                     PRAYER FOR RELIEF

               WHEREFORE, Plaintiff requests relief as follows:

        65.    A preliminary and permanent injunction to prohibit Defendant from violating the

Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.;

        1.     A preliminary and permanent injunction requiring Defendant to take all the steps

necessary to make the Website into full compliance with the requirements set forth in the ADA,

and its implementing regulations, so that the Website is readily accessible to and usable by blind

individuals;

        66.    A declaration that Defendant owns, maintains and/or operates the Website sin a

manner which discriminates against the blind and which fails to provide access for persons with

disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq.;

        67.    An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2)

and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class Counsel;

        68.    Plaintiff’s reasonable attorneys’ fees, statutory damages, expenses, and costs of suit

as provided by state and federal law;

        69.    For pre- and post-judgment interest to the extent permitted by law; and




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       70.   Such other and further relief as the Court deems just and proper.




DATED: April 24, 2019                                     C.K. Lee, Esq.
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                                                          By: /s/ C.K. Lee___________
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